Case: 1:02-Cv-02199 Document #: 1 Filed: 03/26/02 Page 1 of 8 Page|D #:1

UNITED sTATES I)ISTRICT COURT ~ § 1
NORTHERN DISTRICT oF ILLINOIS _ 7 , _
EASTERN DIVISION MR z ;. 1

Noble Martin

 

 

 

(Enter above the full name
of the plaintiff or plaintiffs in
this action)

 

VS.

 

P.O._BroderickeJones

 

P.O. Corey Flagg

 

 

 

 

 

 

(Enter above the full name of ALL
defendants in this action Do not

use "et al.")
CHECK ONE ONLY:

XX - COMPLAINT UNDER THE CIVIL RIGHTS AC'I`, TITLE 42 SECTION 1983
U.S. Code (state, county, or municipal defendants)

COMPLAINT UNDER TI~IE CONSTITUTION ("BIVENS" ACTION), TITLE
28 SECTION 1331(3) U.S. Code (federal defendants)

OTHER (cite statute, if known)

 

BEFORE FILLING OUT THIS COMPLAINT, PLEASE REFER TO ”INSTRUCTIONS FOR
FILING. " FOLLOW THESE INSTRUCTIONS CAREFULLY.

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I. Plaintiff(s):

A_ Name; Nob le Martin

 

B. List all aliases :

 

C . Prisoner identification number:

 

D. Place of present confinement

 

E_ AddI-ess: 6001 South Honore, Chicago, Ill. 60636

 

(If there is more than one plaintiff, then each plaintiff must list his or her name, aliases,
I.D. number, and current address according to the above format on a separate sheet of

paper.)

II. Defendant(s):
(In A below, place the full name of the first defendant in the first blank, his or her official
position in the second blank, and his or her place of employment in the third blank. Space
for two additional defendants is provided in B and C.)

A. DCf€IldaJlt: Broderick J ones

Tir,le; A Chi€aso Poiice efficer

 

Place of Employment: 7 th DiS tr ic t

 

B. Defendant: COI‘€Y 'Flagg

 

Title: A Chicago Police Officer
PlaceofEmployrnent: 7th Districe

C. Defendant:

 

Title:

 

Place of Employment:

 

(If you have more than three defendants, then ali additional defendants must be listed
according to the above format on a separate sheet of paper.)

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III. Exhaustion of Administrative Remedies

You are required to exhaust all your available administrative remedies before bringing an
action in federal court.

A. n ls there a grievance procedure available at your institution?
YES ( ) NO (X) If there is no grievance procedure, skip to F.
B. Have you filed a grievance concerning the facts in this complaint?
YES ( ) NO ( )
C. lf your answer is YES:

l. What steps did you take?

 

 

 

2. What Was the result‘?

 

 

 

3. If the grievance was not resolved to your satisfaction, did you appeal?

What was the result (if there was no procedure for appeal, so state.)

 

 

 

D. If your answer is NO, explain why not:

 

 

 

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E. Is the grievance procedure now completed? YES ( ). NO ( )

F. If there is no grievance procedure in the institution, did you complain to

authorities? YES (X) NO ( )

G. If your answer is YES:

1. What steps did you take?

I made a complaint with the Office Of Professional

Standards.

 

 

2. What was the result? _
It is an open file.

 

 

 

H. If your answer is NO, explain why not:

 

 

 

 

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lV. List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
court (including the Central and Southern Districts of IlIiuois):

 

 

A_ Nan]e Of ease and docket numbe'[': NOble Ma]'.'til‘l V . P . O . Dineefl, et . al .
99 C 3529
B. Approximate date of filing lawsuit: APril 0 f l 998

 

C. List all plaintiffs (if you had co-plaintiffs), including any aliases:

 

 

 

D. LiSt all defendant$: P.'O. Dineen, et. a_l.

 

 

 

E. Court in which the lawsuit was filed (if federal court, name the district; if state
COuI't, flame the COU~UtY): Nor:thern District Court

 

 

 

 

 

F. Name of judge to whom case was assigned: Judge narrah
G- Basic clammade: lith Aniendment violations under the color of the
RtFl i't=
H. Disposition of this case (for example: Was the case dismissed? Was it appealed?

ISitStillpending?): The case was settled

 

 

H . Approximate date of disposition: 0 2/ 0 l / 2 00 l
IF YOU HAVE HLED MORE THAN ONE LAWSUIT, THEN YOU MUST DESCR]BE
THE ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING THIS SAl\/Hi`.
FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREVIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO-
PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILED.

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V. Statement of Claim:

State here as briefly as possible the facts of your case. Describe precisely how each
defendant is involved. Include also the names of other persons involved, dates, and places.
Do not give any legal arguments or cite any cases or statutes. If you intend to allege
a number of related claims, number and set forth each claim in a separate paragraph (Use
as much space as you need. Attach extra sheets if necessary.)

On August 16,2001 at appox. 9:00 p.m. l made a phone call to 911 the emergency

telephone number for assisstance from police. 1 told the 911 operator thattthere

 

were some men outside trying to kick in the door. when the police came, they

 

ignored what 1 had to say and searched the apartment, took my money and cirim,n

 

changed me with the commission of a crime. 0fficer Jones also beat me. The

 

Officer's then took me to the police station and charged me bogishly with

 

possession of a controlled substance with intent to deliver within 1,000 ft.

 

of a school. The officer‘s wrote a bogus police report to fit the false

 

arrest they made in violation of my contitutional rights. On March_éth, the

 

Honorable Judge Shultz found me not guilty as charged in the Criminal Court of

 

Cook County.

 

 

 

 

 

 

 

 

 

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VI. Relief:

State briefly exactly what you want the court to do for you. Mal<_e no legal arguments
Cite no cases or statutes

l will be asking a jury to settle this egregious, malicious, conduct

for $500 ,OOO . 00 .

 

 

 

 

 

CERTIFICATION

By signing this Complaint, l certify that the facts stated in this
Complaint are true to the best of my knowledge, information
and belief l understand that if this certification is not correct,
l may be subject to sanctions by the Court.

signed this Q-éu" day or Ma,~ci\ ,20 QL

hamm

 

 

(Signature of plaintiff or plaintiffs)

wci/lied Mor{'§v\)

(Print name)

(I..D Number)l govtan HOHU{H

(9::`*¢¢~\,0\.://, Qi@jog~é

 

 

\_

 

(Address)

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